      Case 1:17-cv-03463-TWT Document 181 Filed 06/26/20 Page 1 of 3
       Case l:17-cv-03463-TWT Document 177-2 Filed 06/19/20 Page 2 of 4


                                                                           FILED IN CHAMBERS
                                                                         THOMAS W. THRASH JR.
                                                                             U.S.D.C. Atlanta



                     UNITED STATES DISTRICT COURT ""' ~ '-'
                    NORTHERN DISTRICT OF GEORGIA ^ESy^T!8M^^
                              ATLANTA DIVISION




IN RE EQUIFAX INC. SECURITIES                   Consolidated Case No.
LITIGATION                                      l:17-cv-03463-TWT




                            ORDER APPROVING
          PLAN OF ALLOCATION OF NET SETTLEMENT FUND

      This matter came on for hearing on June 26, 2020 (the "Settlement Fairness


Hearing") on Lead Plaintiffs motion to determine whether the proposed plan of

allocation of the Net Settlement Fund ("Plan of Allocation") created by the Settlement


achieved in the above-captioned class action (the "Action") should be approved. The


Court having considered all matters submitted to it at the Settlement Fauness Hearing


and otherwise; and it appearing that notice of the Settlement Fairness Hearing


substantially in the form approved by the Court was mailed to all Settlement Class

Members who or which could be identified with reasonable effort, and that a summary


notice of the hearing substantially in the form approved by the Court was published in

the Wall Street Journal and was transmitted over the PR Newswire pursuant to the


specifications of the Court; and the Court having considered and determined the


fairness and reasonableness of the proposed Plan of Allocation;
       Case 1:17-cv-03463-TWT Document 181 Filed 06/26/20 Page 2 of 3
       Case l:17-cv-03463-TWT Document 177-2 Filed 06/19/20 Page 3 of 4




      NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1. This Order approving the proposed Plan of Allocation incorporates by


reference the definitions in the Stipulation and Agreement of Settlement dated


February 12, 2020 (ECF No. 159-2) (the "Stipulation") and all terms not otherwise

defined herein shall have the same meanings as set forth in the Stipulation.


      2. The Court has jurisdiction to enter this Order approving the proposed


Plan of Allocation, and over the subject matter of the Action and all parties to the


Action, including all Settlement Class Members.


      3. Notice of Lead Plaintiffs motion for approval of the proposed Plan of

Allocation was given to all Settlement Class Members who could be identified with


reasonable effort. The form and method of notifying the Settlement Class of the


motion for approval of the proposed Plan of Allocation satisfied the requirements of


Rule 23 of the Federal Rules of Civil Procedure, the Private Securities Litigation

Reform Act of 1995 (15 U.S.C. § 78u-4(a)(7)), due process, and all other applicable

law and rules, constituted the best notice practicable under the circumstances, and


constituted due and sufficient notice to all persons and entities entitled thereto.


      4. Over 185,000 copies of the Notice, which included the Plan of

Allocation, were mailed to potential Settlement Class Members and nominees and no


objections to the Plan of Allocation have been received.
      Case 1:17-cv-03463-TWT Document 181 Filed 06/26/20 Page 3 of 3
       Case l:17-cv-03463-TWT Document 177-2 Filed 06/19/20 Page 4 of 4




      5. The Court hereby finds and concludes that the formula for the calculation


of the claims of Claimants as set forth in the Plan of Allocation mailed to Settlement

Class Members provides a fair and reasonable basis upon which to allocate the


proceeds of the Net Settlement Fund among Settlement Class Members with due


consideration having been given to administrative convenience and necessity.


      6. The Court hereby finds and concludes that the Plan of Allocation is, in all

respects, fair and reasonable to the Settlement Class. Accordingly, the Court hereby


approves the Plan of Allocation proposed by Lead Plaintiff.


      7. There is no just reason for delay in the entry of this Order, and immediate


entry by the Clerk of the Court is expressly directed.


      SO ORDERED this ^ day of ^c^j^ 2020.




                                       .'^L^^^t^b
                                         The Honorable Thomas W. Thrash, Jr.
                                              United States District Judge
